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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                        :
                                                 :
               Plaintiff,                        :
                                                 :
       vs.                                       :
                                                 :        Case No. 2:23-MJ-522
JEREMIAH MORRISON,                               :
                                                 :        MAGISTRATE JUDGE VASCURA
               Defendant.                        :


                       DUE PROCESS PROTECTIONS ACT ORDER

       Pursuant to the Due Process Protections Act, the Court reminds the government of its

obligations under Brady v. Maryland, 373 U.S. 83 (1963), to disclose evidence favorable to the

defendant and material to the defendant’s guilt or punishment. The government is ordered to

comply with Brady and its progeny. The failure to do so in a timely manner may result in

consequences, including dismissal of the indictment or information, exclusion of government

evidence or witnesses, adverse jury instructions, dismissal of charges, contempt proceedings,

sanctions by the Court, or any other remedy that is just under the circumstances.

       IT IS SO ORDERED.

                                                  /s/Chelsey M. Vascura
                                                 Chelsey M. Vascura
                                                 United States Magistrate Judge
